July 02, 2004


Mr. William D. Noel
8200 Wednesbury Lane, Suite 420
Houston, TX 77074-2925
Mr. Thomas E. Sheffield
3027 Marina Bay Drive, Suite 207
League City, TX 77573

RE:   Case Number:  02-0215
      Court of Appeals Number:  01-99-01359-CV
      Trial Court Number:  14,673

Style:      ROSIE WENZEL, WILMA MCANDREW, BETTY MCCLENEY, AND TILFORD SULAK
      v.
      SAN JACINTO GAS TRANSMISSION COMPANY

Dear Counsel:

      Today the Supreme Court of Texas delivered the enclosed  opinions  and
judgment in the above  referenced  cause.   Enclosed  is  the  majority  and
concurring opinions for consolidated cases 02-0213,  02-0214,  02-0215,  02-
0216, 02-0217, 02-0320, 02-0321, 02-0326,  and  02-0356.   (Justice  O'Neill
and Justice Schneider not sitting.)


      Encl.
                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Nancy J. Vega, Chief Deputy Clerk

|cc:|Ms. Margie        |
|   |Thompson          |
|   |Ms. Dianne Wilson |

